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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

Xx

 

FERCO ENTERPRISES, INC., JAW
ENTERPRISES, LLC, and JOHN A.

WILLIAMS,
Plaintiffs /Counterclaim : Civil Action No.:

Defendants : 05 CV 2980-ODE
Vv.

TAYLOR RECYCLING FACILITY,
LLC, TAYLOR BIOMASS ENERGY,
LLC, TAYLOR HOLDING GROUP,
LTD., JAMES W. TAYLOR, JR., and
MARK PAISLEY,

Defendants / Counterclaimants. :
Xx
TAYLOR RECYCLING FACILITY, :
LLC, JAMES W. TAYLOR, JR. and :
MARK PAISLEY,

Counterclaim Plaintiffs,

 

V.

FERCO ENTERPRISES, INC., JAW
ENTERPRISES, LLC, and JOHN A.
WILLIAMS,

Counterclaim Defendants. :

 

DEFENDANTS’ DESIGNATION OF EXPERT WITNESS
Pursuant to the Consent Order Regarding Discovery and Dispositive
Motions Deadline entered by this Court on November 28, 2006, Defendants hereby

designate Michael J. Michalowicz as a rebuttal expert witness. Mr. Michalowicz
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will testify concerning any matters raised by Plaintiffs/Counterclaim Defendants

concerning the forensic computer analysis of the hard drives of Mark Paisley and

Ralph Corley, including in particular matters raised in the Expert Reports of Bruce

Smith, dated November 10, 2006, and November 15, 2006, and in Mr. Smith’s

deposition, dated November 28, 2006, as well as any matters raised by Plaintiffs or

Plaintiffs’ witnesses subsequent to today’s date concerning forensic computer

analysis. The curriculum vitae of Mr. Michalowicz is attached hereto as Exhibit A.

November 30, 2006

By: s/ Kenneth Lee, Esq.
Attorney for Defendants Taylor Recycling Facility,

LLC, Taylor Biomass Energy, LLC, Taylor
Holding Group, Ltd., and James W. Taylor, Jr.
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Facility, LLC, Taylor Biomass Energy, LLC,
Taylor Holding Group, Ltd., and James W. Taylor,
Jr.
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EXHIBIT A
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protiviti"

Independent Risk Consulting

Summary

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Service Line
Business Risk - Financial Investigations and
Litigation Consulting

Area of Practice
Forensic Technology

Education

Bachelor of Science, Finance

Bachelor of Science, Management Science
Virginia Tech

Professional Memberships
e Member, Infragard
e Member, Computer Security Institute

Relevant Certifications

° MCP, Microsoft Certified Professional

e CNA, Certified Novell Administrator

e Network +, CompTIA Network Infrastructure
& Security Certification

Background

Mike is an Associate Director in the Forensic Technology practice. He
is responsible for overseeing the operations of all data collection,
analysis and evidence delivery based out of Protivitis Whitehouse
Station, NJ office. Mike also oversees the management of major data
forensic projects.

Mike is a former Managing Partner of the data forensic company PG
Lewis & Associates, LLC (PGLA), which was acquired by Protiviti in
2006. He has over 12 years of computer security and infrastructure
experience and served six years as President of Olmec Systems, Inc.
(www.olmec.com), a technology integration firm specializing in
computer networks for financial institutions.

Mike has been qualified as a data forensic expert at the federal level, is
a published author in the field of data forensics, and has managed over
100 cases.

Appointments, Certifications, Testimony

° Fox Industries Inc. v Leonid Gurovich, Dkt. CV-03-5166 (E.D.N.Y.).
Court appointed data forensic expert on Order to Show Cause

° Cellco Partnership and Verizon Wireless v. Direct Wholesale Inc.,
Civil Action No. 3:04-cv-01537-SRC-TJB (D.N.J.). Preparation and
presentation of expert forensic report.

° Aventis Pasteur Inc. v. Paul Shreve, Case No. Equity-2313, Court
of Common Pleas (Monroe Co. Pa. 2004). Preparation and
presentation of expert forensic report.

¢ Hughes v. Cingular Wireless, LLC, Dkt. No. MID-L-007857-04
(Middlesex County, NJ). Qualified as expert and presented
testimony on electronic discovery motion.

*  Quinby v. WestLB AG, Civil Action No. 1:04-cv-07460-WHP-HBP
(SDNY). Presentation of expert data forensic analysis.

° United States of America v. Akhil Bansal, et al., Case No. 2:05-cr-
00193-PD (E.D.Pa). Qualified as expert for federal criminal matter
and presented jury testimony on computer forensic process and
digital evidence integrity.

 

¢ Hain Celestial Group, Inc. et al v. Cooper et al. Civil Action No.
2:06-cv-02836-JFB-WDW _(E.D.N.Y.). Deposition testimony on
analysis process and responsive findings.
